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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                  Southern Division

  D. G. Sweigert, Pro Se Plaintiff
                                                                 PRO SE
                   -against-
                                                                  CASE:
  MULTIMEDIA SYSTEM DESIGN,
  INC. d/b/a                                            2:22-cv-12696-GAD-KGA
  CROWDSOURCE THE TRUTH,
   d/b/a 21st Century 3D                         District Judge Gershwin A. Drain
  And
                                                     Magistrate Judge Kimberly G.
  George Webb Sweigert                                          Altman

                    Defendants


    Plaintiff Pro Se                            Defendants
    D. G. SWEIGERT                              MULTIMEDIA SYSTEM DESIGN, INC.
    Spoliation-notice@mailbox.org               truth@crowdsourcethetruth.org
                                                jason@21stcentury3d.com
                                                GEORGE WEBB SWEIGERT
                                                Georg.webb@gmail.com


             PLAINTIFF’S MOTION FOR LEAVE OF COURT TO TAKE
          JUDICIAL NOTICE ABOUT ACTIONS INVOLVING DEFENDANTS


 Hereby certified that the statements herein are true and that a true .PDF file of this document

 has been transmitted via electronic message to the parties named above. Signed this eighth day

 of May 13, 2023 (05/13/2023).




                      D. G. SWEIGERT PRO SE, C/O

                                                                PMB 13339, 514 Americas Way,
                                                                         Box Elder, SD 57719

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             PLAINTIFF’S MOTION FOR LEAVE OF COURT TO TAKE
          JUDICIAL NOTICE ABOUT ACTIONS INVOLVING DEFENDANTS




 NOW COMES THE PRO SE PLAINTIFF D. G. SWEIGERT to advise the Court that he is

 attempting to engage licensed private detectives in the State of New York to locate Jason

 Goodman and serve him with the summons and amended complaint issued in this instant

 litigation. Meanwhile, as seen in the attached exhibits, George Webb has been located in

 Orlando, Florida.


 The statements in this document are true and correct as to my understanding when the

 statements were made, certified under penalties of perjury. Signed this eighth day of May 13,

 2023 (05/13/2023).




                                                              D. G. SWEIGERT PRO SE, C/O
                                                              PMB 13339, 514 Americas Way,
                                                                         Box Elder, SD 57719
                                                               Spoliation-notice@mailbox.org




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                        EXHIBIT ONE




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                        EXHIBIT TWO




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 UNITED STATES DISTRICT COURT                                                              05/08/2023
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 JASON GOODMAN,                                                     :
                                                                    :   ORDER AND
                                                                    :   REPORT AND
                            Plaintiff,                              :   RECOMMENDATION
                                                                    :
                                                                    :   21-CV-10878 (AT) (JLC)
          -v.-                                                      :
                                                                    :
 CHRISTOPHER ELLIS BOUZY, et al.,                                   :
                                                                    :
                                                                    :
                            Defendants.                             :
 -------------------------------------------------------------------X

 JAMES L. COTT, United States Magistrate Judge.

 To The Honorable Analisa Torres, United States District Judge:

         Jason Goodman (“Goodman”), proceeding pro se, brought this action against

 Christopher Ellis Bouzy (“Bouzy”), Bot Sentinel, Inc. (“Bot Sentinel”), George Webb

 Sweigert (“Webb”), David George Sweigert (“Sweigert”), Benjamin Wittes (“Wittes”),

 Nina Jankowicz (“Jankowicz”), Adam Sharp (“Sharp”), Margaret Esquenet

 (“Esquenet”), the Academy of Television Arts and Sciences (“ATAS”), Seth Berlin

 (“Berlin”), and Maxwell Mishkin (“Mishkin”) alleging multiple claims. Pending

 before the Court are a number of motions, including motions to dismiss brought by

 Bouzy, Bot Sentinel, Berlin, Mishkin, Sweigert, Wittes, and Jankowicz (together,

 “movants”). For the reasons set forth below, I recommend that all motions to

 dismiss be granted, Goodman’s motion for leave to further amend his complaint be

 denied, Goodman’s motion for a preliminary injunction against Sweigert be denied,

 Goodman’s motion for sanctions as to Bouzy, Bot Sentinel, and Berlin be denied,

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 and Wittes’s and Jankowicz’s motion for sanctions be granted and that a filing

 injunction be issued against Goodman. I further recommend that the entire case be

 dismissed with prejudice. In addition, Goodman’s motion for a court-ordered

 psychiatric evaluation of Sweigert is denied, Goodman’s and Sweigert’s motions and

 requests for judicial notice are denied, Sweigert’s motions to transfer are denied,

 Goodman’s motions to quash subpoenas are denied, and Bouzy and Bot Sentinel’s

 motion to set aside default judgment is granted. 1


 1 The Court addresses the pending motions, some of which are dispositive and some
 of which are not, by a combined order and report and recommendation. The
 motions to dismiss, motions for leave to amend, motion for preliminary injunction,
 and motions for sanctions are dispositive and are addressed by report and
 recommendation. See, e.g., Singh v. New York State Dep’t of Tax’n & Fin., 865 F.
 Supp. 2d 344, 348 (W.D.N.Y. 2011) (motion to dismiss dispositive); Murrey v.
 BrandYourself.com, Inc., No. 21-CV-320 (AT) (JLC), 2022 WL 4395808, at *1
 (S.D.N.Y. Sept. 23, 2022) (denial of motion for leave to amend resulting in dismissal
 of lawsuit dispositive), adopted by 2023 WL 1780806 (Feb. 6, 2023); Brock v. City of
 New York, No. 21-CV-11094 (AT) (SDA), 2022 WL 3445732, at *2 (S.D.N.Y. Aug. 17,
 2022) (motion for preliminary injunction dispositive); Joint Stock Co. Channel One
 Russia Worldwide v. Infomir LLC, No. 16-CV-1318 (GBD) (BCM), 2017 WL
 3671036, at *17 (S.D.N.Y. July 18, 2017) (Rule 11 sanctions generally treated as
 dispositive), adopted by 2017 WL 4712639 (Sept. 28, 2017). The motion to set aside
 default, motion for a court-ordered psychiatric evaluation, motions for judicial
 notice, motions to transfer, and motions to quash are not dispositive and are
 addressed by order. See, e.g., Kryszak v. Norfolk S. Corp., No. 17-CV-530 (JLS)
 (MJR), 2020 WL 1445478, at *1 (W.D.N.Y. Mar. 25, 2020) (motion to vacate entry of
 default non-dispositive); Lyons v. McGinnis, No. 04-CV-6157L (MWP), 2009 WL
 185733, at *1 (W.D.N.Y. Jan. 23, 2009) (motion for court-ordered psychiatric
 evaluation non-dispositive); Justice v. King, No. 08-CV-6417 (CJS) (MWP), 2011 WL
 1432130, at *3 (W.D.N.Y. Mar. 24, 2011) (motion for judicial notice resolved by
 decision and order), adopted by 2011 WL 1431387 (Apr. 14, 2011); Paulson v.
 Guardian Life Ins. Co. of Am., 614 F. Supp. 3d 1, 5 (S.D.N.Y. 2022) (motion to
 transfer non-dispositive); Peterson v. Katonah Lewisboro Sch. Dist., No. 13-CV-51
 (VB) 2014 WL 3891253, at *1 (S.D.N.Y. June 27, 2014) (motion to quash subpoena
 non-dispositive).
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                                 I. BACKGROUND

 A.    Factual Background

       The Court assumes familiarity with the facts underlying this action, set forth

 in its prior Report and Recommendation, Dkt. No. 59, and thus provides only a brief

 review of the facts alleged in Goodman’s initial complaint before summarizing the

 new facts alleged in his amended complaint. Goodman filed his initial complaint

 alleging defamation against Bouzy, Bot Sentinel, and Webb, in which he claimed

 that defendants published defamatory tweets and YouTube videos on the Internet

 falsely stating that he had been accused of rape. Dkt. No. 1 ¶¶ 11–17.

       Now, in his 43-page amended complaint that includes 84 pages of exhibits,

 Goodman alleges that he had a Twitter exchange with Wittes, during which

 Goodman advanced his theory that Wittes, whom he added as a defendant,

 murdered a political operative, Peter Smith. 2 Amended Complaint (“Am. Comp.”),

 Dkt. No. 100 at 19. 3 Goodman alleges, inter alia, that Wittes retaliated by

 conspiring with Bouzy and Bot Sentinel to “eliminate” Goodman’s access to social

 media, and that Wittes paid for Bouzy and Bot Sentinel’s legal defense in this

 proceeding. Id. at 20. In his amended complaint, he also added Berlin and


 2 Given its length, the amended complaint should be dismissed as a threshold
 matter for failure to comply with Rule 8(a) of the Federal Rules of Civil Procedure,
 which “places an obligation upon the [plaintiff] to submit ‘a short and plain
 statement of the claim,’ not a . . . long conspiracy theory novel.” Gaboury v. Town of
 Roxbury, No. 98-CV-1753 (TJM), 1999 WL 244829, at *4 (N.D.N.Y. Apr. 19, 1999)
 (citation omitted). As is discussed further below, the claims are, in any event, not
 cognizable.

 3 Certain paragraphs in the amended complaint are not numbered; in these
 instances, the citation refers to the page number.
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 Mishkin, lawyers for Bouzy and Bot Sentinel, as defendants.

       As to Jankowicz, Goodman alleges that she made fraudulent complaints to

 Patreon and Twitter, social media companies, resulting in Goodman’s accounts

 being suspended. Id. at 33–34. Goodman alleges that Jankowicz conspired with

 Sweigert to get information regarding Goodman’s social media accounts. Id. at 33.

       Lastly, Goodman alleges that Sharp, ATAS, and Esquenet conspired to file a

 false copyright infringement claim in order to harm his business. Id. at 28.

 Goodman alleges that together, by Sweigert’s initiative, all defendants formed a

 “Cyber Militia” whose goal is to put Goodman out of business. Id. at 13–14.

 B.    Procedural History

       Goodman commenced this action on December 19, 2021, asserting claims

 against defendants Bouzy, Bot Sentinel, and Webb. Dkt No. 1. In a Report and

 Recommendation dated November 10, 2022, I recommended that (1) claims against

 Webb be dismissed for lack of personal jurisdiction; (2) Goodman be granted leave to

 amend his complaint to attempt to cure its jurisdictional defects; and (3) Goodman

 be permitted to move for a default judgment as to Bouzy and Bot Sentinel, who had

 not yet appeared. Dkt. No. 59. By order dated December 13, 2022, the Report was

 adopted, and Goodman was granted leave to file an amended complaint. Dkt. No.

 82.

       On January 17, 2023, Goodman filed an amended complaint in which, in

 addition to including Webb, Bouzy, and Bot Sentinel as defendants, he named

 several new defendants: Sweigert, Wittes, Jankowicz, Sharp, Esquenet, the



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 Academy of Television Arts and Sciences, Berlin, and Mishkin. Dkt. No. 100.

 Following the filing of the amended complaint, the parties, although primarily

 Goodman and Sweigert, filed numerous motions and related documents. The

 motions and documents pertinent to this Report are detailed below.

              1. Default Judgment as to Bouzy and Bot Sentinel

       On November 20, 2022, Goodman moved for a default judgment as to Bouzy

 and Bot Sentinel. Dkt. Nos. 60–62. On November 23, 2022, Bouzy and Bot Sentinel

 filed a letter arguing that a default would not be warranted. Dkt. No. 68. Goodman

 filed a letter opposing the request to set aside the default on January 3, 2023. Dkt.

 No. 91. Following an order dated December 20, 2022, Dkt. No. 83, on January 3,

 2023, Bouzy and Bot Sentinel provided further explanation regarding their late

 appearance in this case, Dkt. No. 90, and the next day Goodman filed a second

 letter objecting to their submission. Dkt No. 92.

              2. Goodman’s Motion for Sanctions as to Bouzy, Bot Sentinel,
                 and Berlin

       On December 27, 2022, Goodman moved for sanctions against Bouzy, Bot

 Sentinel, and Berlin. Notice of Motion Seeking Sanctions Pursuant to Rule 11

 (“Goodman Sanc.”), Dkt. No. 86. Bouzy, Bot Sentinel, and Berlin filed an opposition

 on January 6, 2023. Memorandum of Law in Opposition to Plaintiff’s Motion for

 Sanctions (“Bouzy Sanc. Opp.”), Dkt. No. 94. Goodman filed a reply in support of

 his motion on January 8. Response to Memorandum in Opposition to Rule 11

 Sanctions (“Goodman Sanc. Rep.”), Dkt. No. 96.




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             3. Motions to Dismiss by Bouzy, Bot Sentinel, Berlin, Mishkin,
                and Sweigert

       On January 27, 2023, Bouzy, Bot Sentinel, Berlin, and Mishkin moved to

 dismiss the amended complaint. Motion to Dismiss, Dkt. No. 106, Memorandum of

 Law in Support of Motion to Dismiss (“Bouzy Mot.”), Dkt. No. 107, Declaration of

 Seth D. Berlin dated January 27, 2023 (“Berlin Decl.”), Dkt. No. 108. On January

 30, 2023, Sweigert moved to dismiss the amended complaint. Motion to Dismiss

 (“Sweigert Mot.”), Dkt. No. 112. On February 28, Goodman filed an opposition to

 both motions. Response in Opposition to Motions to Dismiss (“Goodman Opp.”),

 Dkt. No. 140. On March 14, Bouzy, Bot Sentinel, Berlin, and Mishkin filed a reply

 in support of their motion. Combined Reply/Response Memorandum (“Bouzy Rep.”),

 Dkt. No. 159. On March 1, Sweigert filed a reply in support of his motion, Dkt. No.

 143, which he amended on March 3. Amended Reply to Plaintiff’s Response in

 Opposition to Motions to Dismiss (“Sweigert Rep.”), Dkt. No. 146.

             4. Preliminary Injunction Against Sweigert and Court-
                Ordered Psychiatric Evaluation

       On February 3, 2023, Goodman moved for a court-ordered psychiatric

 evaluation of Sweigert. Dkt. No. 118. Sweigert filed a letter addressing this motion

 on February 5. Dkt. No. 121.

       On January 30, 2023, Goodman moved for a preliminary injunction against

 Sweigert. Notice of Motion Seeking a Preliminary Injunction or Restraining Order

 Dkt. No. 111, Affidavit of Jason Goodman dated January 28, 2023, Dkt. No. 113;

 Memorandum in Support of Application for Preliminary Injunction or Restraining

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 Order (“Goodman PI”), Dkt, No. 114. On February 4, Sweigert filed a letter in

 opposition. Dkt. No. 119.

              5. Motions for Leave to Further Amend the Complaint

       On February 17, without leave of the Court, Goodman filed a second

 amended complaint. Dkt. No. 132. Following an order dated February 21, Dkt. No.

 134, that same day, Goodman moved for leave to file a second amended complaint.

 Notice of Motion Seeking Leave to File a Second Amended Complaint, Dkt. No. 137.

 On February 28, Goodman moved again for further leave to file a third amended

 complaint. Dkt. No. 142. On March 5, Sweigert filed an opposition to Goodman’s

 motions to amend. Dkt. No. 152. On March 7, Wittes and Jankowicz filed an

 opposition to Goodman’s motion. Memorandum of Law in Opposition to Plaintiff’s

 Motions for Leave to File a Second and/or Third Amended Complaint, Dkt. No. 155.

 On March 14, Bouzy and Bot Sentinel filed their opposition. Dkt. No. 155.

              6. Motion to Dismiss by Wittes and Jankowicz

       On March 6, 2023, Wittes and Jankowicz moved to dismiss. Motion to

 Dismiss Amended Complaint, Dkt. No. 153; Memorandum of Law in Support of

 Motion to Dismiss (“Wittes Mot.”), Dkt. No. 154. Goodman did not file any

 opposition to their motion.

              7. Sweigert’s Motion to Transfer

       By letters filed on March 10 and March 22, Sweigert twice moved to transfer

 this action to the Eastern District of Michigan, in the event all defendants aside

 from himself and Webb are dismissed from the case. Dkt. Nos. 158, 161. Goodman



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 did not file an opposition to these motions.

              8. Motions to Quash Subpoenas

       On March 28 and April 18, Goodman moved to quash two subpoenas

 requested by Sweigert. Dkt. Nos. 168, 186. Sweigert opposed Goodman’s motions

 to quash on March 30 and April 18. Dkt. Nos. 170, 188.

              9. Wittes’s and Jankowicz’s Motion for Sanctions as to
                 Goodman

       On April 3, Wittes and Jankowicz moved for sanctions as to Goodman.

 Motion for Sanctions Against Plaintiff Jason Goodman, Dkt. No. 171; Memorandum

 of Law in Support of Motion for Sanctions (“Wittes Sanc.”), Dkt. No. 172. Goodman

 filed an opposition on April 14. Dkt. No. 184. Wittes and Jankowicz filed a reply in

 support of their motion on April 28. Dkt. No. 197.

              10. Motions and Requests for Judicial Notice and Sweigert’s
                  Motion to Strike

       Goodman and Sweigert have filed multiple motions and requests for judicial

 notice. Dkt. Nos. 141, 163, 167, 176, 179, 181, 191. On April 30, Sweigert moved to

 strike Goodman’s request for judicial notice (Dkt. No. 176) dated April 4, 2023. Dkt.

 No. 198.

       On March 30, an amended order of reference was issued, referring all

 pending motions, both dispositive and non-dispositive, to me for a report and

 recommendation and any appropriate orders. Dkt. No. 169.




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                                   II. DISCUSSION

 A.    Standard of Review

       1.     Motion to Dismiss

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows a party to move

 to dismiss a complaint for “failure to state a claim upon which relief can be

 granted.” Fed. R. Civ. P. 12(b)(6). In considering a Rule 12(b)(6) motion, the Court

 accepts all factual allegations in the complaint as true and draws all reasonable

 inferences in the plaintiff’s favor. See Palin v. N.Y. Times Co., 940 F.3d 804, 809 (2d

 Cir. 2019) (quoting Elias v. Rolling Stone LLC, 872 F.3d 97, 104 (2d Cir. 2017)).

       To survive dismissal, the plaintiff must allege enough facts “to state a claim

 to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

 (2007). Facial plausibility exists when a plaintiff “pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the

 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly,

 550 U.S. at 556); see also, e.g., ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d

 87, 98 (2d Cir. 2007) (“To survive dismissal, the plaintiff must provide the grounds

 upon which his claim rests through factual allegations sufficient ‘to raise a right to

 relief above the speculative level.’”) (quoting Twombly, 550 U.S. at 555). Although

 Rule 8 of the Federal Rules of Civil Procedure “does not require ‘detailed factual

 allegations,’ . . . it demands more than an unadorned, the-defendant-unlawfully-

 harmed-me accusation.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).



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 “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

 elements of a cause of action will not do.’” Id. (quoting Twombly, 550 U.S. at 555).

       2.     Evidentiary Standards on a Motion to Dismiss Under Rule
              12(b)(6)

       On a motion to dismiss under Rule 12(b)(6), “district courts must limit their

 consideration to: (1) the factual allegations in the complaint, which are accepted as

 true; (2) documents attached to the complaint as an exhibit or incorporated in it by

 reference; (3) matters of which judicial notice may be taken; or (4) documents either

 in plaintiff’s possession or of which plaintiff had knowledge and relied on in

 bringing suit.” Ebomwonyi, 473 F. Supp. 3d at 344–45 (quoting Roth v.

 CitiMortgage Inc., 756 F.3d 178, 180 (2d Cir. 2014)) (cleaned up).

       For a document “[t]o be incorporated by reference, the complaint must make

 a clear, definite and substantial reference to [it].” McLennon, 171 F. Supp. 3d at 88

 (quoting Madu, Edozie & Madu, P.C. v. SocketWorks Ltd. Nigeria, 265 F.R.D. 106,

 123 (S.D.N.Y. 2010)) (citation omitted). “Limited quotation does not constitute

 incorporation by reference.” Id. at 88–89 (quoting Looney v. Black, 702 F.3d 701,

 716 n.2 (2d Cir. 2012)). “Even where a document is not incorporated by reference, it

 may be considered if it is integral to the complaint.” Id. at 89. “A document is

 integral to the complaint where the plaintiff (1) has actual notice of the document

 and its information and (2) has relied upon the documents in framing the

 complaint.” Id. (citing Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir.

 2002)) (cleaned up). “However, even if a document is integral to the complaint, it

 must be clear on the record that no dispute exists regarding the authenticity or


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 accuracy of the document.” DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d

 Cir. 2010) (cleaned up).

       Rule 201 of the Federal Rules of Evidence establish that judicial notice may

 be taken of “a fact that is not subject to reasonable dispute because it: (1) is

 generally known within the trial court’s territorial jurisdiction; or (2) can be

 accurately and readily determined from sources whose accuracy cannot reasonably

 be questioned.” Fed. R. Evid. 201. “To that end, dictionaries and encyclopedia may

 be consulted.” B.V.D. Licensing Corp. v. Body Action Design, Inc., 846 F.2d 727, 728

 (Fed. Cir. 1988).

       3.     Standards in Pro Se Cases

       “Pro se plaintiff filings are liberally construed, and a pro se complaint,

 however inartfully pleaded, must be held to less stringent standards than formal

 pleadings drafted by lawyers.” Franklin v. X Gear 101, LLC, No. 17-CV-6452 (GBD)

 (GWG), 2018 WL 3528731, at *4 (S.D.N.Y. July 23, 2018) (citation and internal

 quotations omitted), adopted by 2018 WL 4103492 (Aug. 28, 2018); see also Hill v.

 Curcione, 657 F.3d 116, 122 (2d Cir. 2011) (review of pro se complaint for sufficiency

 requires “special solicitude, interpreting the complaint to raise strongest claims that

 it suggests”) (cleaned up). “However, even the pleadings of pro se plaintiffs ‘must

 contain factual allegations sufficient to raise a right to relief above the speculative

 level.’” Franklin, 2018 WL 3528731, at *4 (quoting Dawkins v. Gonyea, 646 F.

 Supp. 2d 594, 603 (S.D.N.Y. 2009)); see also Chavis v. Chappius, 618 F.3d 162, 170

 (2d Cir. 2010) (“Even in a pro se case . . . threadbare recitals of the elements of a



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 cause of action, supported by mere conclusory statements, do not suffice” nor may a

 court “invent factual allegations” a plaintiff “has not pled.” (internal quotations and

 citations omitted)). Further, the degree of solicitude afforded to a pro se plaintiff

 “may be lessened where the particular pro se litigant is experienced in litigation and

 familiar with the procedural setting presented.” Tracy v. Freshwater, 623 F.3d 90,

 102 (2d Cir. 2010) (citation omitted).

 B.    Analysis

       This case is a continuation of an ongoing battle between Internet conspiracy

 theorists Goodman and Sweigert. As Judge Caproni characterized their conflict in a

 prior lawsuit in this District between them, it is “a frivolous dispute between two

 litigants whose voluminous court filings rehash their incomprehensible and illogical

 online conspiracy theories.” Sweigert v. Goodman, No. 18-CV-8653 (VEC), 2019 WL

 11662227, at *1 (S.D.N.Y. Aug. 20, 2019). In this iteration of the dispute, Goodman

 has brought in many other defendants, some of whom he has sued in other lawsuits

 and some of whom he has not sued before. As discussed further below, I recommend

 this case be dismissed in its entirety.

       1.     Default Against Bouzy and Bot Sentinel

       In the prior Report, I recommended that Goodman move for a default

 judgment against Bouzy and Bot Sentinel, who had been properly served but had

 not appeared in the action. See Goodman v. Bouzy, No. 21-CV-10878 (AT) (JLC),

 2022 WL 16847284, at *5 (S.D.N.Y. Nov. 10, 2022), adopted by 2022 WL 17624872

 (Dec. 13, 2022). Goodman then obtained a Clerk’s Certificate of Default, Dkt. No.



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 72, after which Bouzy and Bot Sentinel appeared and moved to set aside the

 default, explaining that they believed they had not been properly served, and once

 they became aware of the Court’s recommendation, obtained counsel and appeared.

 Dkt. No. 90, at 3. As there is nothing in the record to suggest that any default by

 Bouzy and Bot Sentinel was willful, the certificate of default is vacated, Bouzy’s and

 Bot Sentinel’s motion is granted (and Goodman’s motion for a default judgment

 should be denied, Dkt. No. 60). See, e.g., Sikhs for Justice v. Nath, 893 F. Supp. 2d

 598, 613 (S.D.N.Y. 2012) (default not willful where once defendant became aware of

 application for default judgment, “it engaged current counsel to represent its

 interests”). 4

        2.        Motions to Dismiss

        Bouzy, Bot Sentinel, Berlin, Mishkin, Jankowicz, Wittes, and Sweigert have

 all moved to dismiss Goodman’s claims against them. These motions should be

 granted. In addition, the claims against the remaining defendants, Webb, ATAS,

 Sharp, and Esquenet, who have not yet responded to the amended complaint,

 should be dismissed, sua sponte, as discussed below. 5




 4For avoidance of doubt, no default judgment was ever entered against these
 defendants.

 5 Sweigert contends that the doctrine of res judicata “precludes the relitigation of
 Goodman’s claims against Adam Sharp” and cites to another case in this District in
 which Goodman sued Sharp and Esquenet, among others. See Sweigert Rep. at 6.
 Because all of Goodman’s claims lack merit, the Court does not address the res
 judicata argument.


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              a.     The RICO Claim, to the Extent It Has Been Pled, Should
                     Be Dismissed as to All Defendants

       Although the amended complaint does not explicitly include a cause of action

 for RICO, Goodman makes multiple references to alleged RICO violations and in

 fact, calls the pleading, “Amended Complaint for Fraud, Defamation, Abuse of

 Process, Civil Conspiracy, and Racketeering.” See also Am. Comp. ¶ 36 (“this action

 arises under the Federal Racketeer Influences and Corrupt Organizations Act

 (“RICO”)). Goodman also makes multiple references to the RICO statute, 18 U.S.C.

 § 1962. Id. ¶ 4, id. at 13. However, any cause of action under RICO, to the extent

 one has been pled, fails.

       There are two threshold pleading requirements to state a RICO claim:

              [f]irst, [a plaintiff] must allege that the defendants,
              through the commission of two or more acts constituting a
              pattern of racketeering activity, directly or indirectly
              invest in, or maintain an interest in, or participate in an
              enterprise, the activities of which affect interstate or
              foreign commerce. Second, [a plaintiff] must allege that he
              was injured in his business or property by reason of a
              violation of Section 1962.

 Mendlow v. Seven Locks Facility, 86 F. Supp. 2d 55, 57 (D. Conn. 2000). A plaintiff

 can demonstrate “a pattern of racketeering” by alleging “(1) the existence of two or

 more racketeering predicate acts, (2) that the predicate acts are related, [and] (3)

 that the predicate acts amount to or pose a threat of continued criminal activity.”

 Id. at 58 (citing H.J., Inc. v. Northwestern Bell Telephone, 492 U.S. 229, 239 (1989)).

 Further, an enterprise is “any individual, partnership, corporation, association or




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 other legal entity, and any union or group of individuals associated in fact although

 not a legal entity.” 18 U.S.C. § 1961(4).

        Goodman sprinkles allegations of racketeering throughout the amended

 complaint. For example, he alleges that all defendants:

    •   “worked together toward a common purpose by filing mass
        complaints . . . making false claims, and fraudulent misrepresentations
        intended to forcibly terminate Goodman’s video broadcasting business, and to
        extort money from him through vexatious litigation including multiple
        simultaneous lawsuits based on frivolous and fraudulent claims.” ¶ 2;
    •   “engaged in a pattern of racketeering activity including the formation of an
        association-in-fact enterprise (the “Enterprise”) for the purpose of harassing
        [Goodman], destroying his business and public reputation, and preventing
        him from broadcasting findings of his investigations by wrongfully
        terminating his access to social media.” ¶ 3; and,
    •   “caused proximate financial damage to Goodman beginning in 2020,
        continuously up to and including today,” with their “pattern of related
        racketeering.” ¶ 5.

 These claims are unsubstantiated and conclusory, and thus insufficient to state a

 RICO claim.

        First, Goodman has not alleged a pattern of racketeering. In order to

 establish such a pattern, a plaintiff must allege “at least two acts of racketeering

 activity within a ten-year period.” Kim v. Kimm, 884 F.3d 98, 103 (2d Cir. 2018)

 (citing 18 U.S.C. § 1691(5)) (internal quotations omitted). Goodman’s claims largely

 relate to fraud: defendants made fraudulent complaints, see, e.g., Am. Comp. at 17,

 and defendants filed lawsuits based on fraudulent claims, see, e.g., id. ¶ 2. He

 alleges that defendants carried out these acts to both “terminate” his broadcasting

 business and cause “financial damage.” Id. ¶¶ 2, 5. However, the events that

 Goodman alleges do not support his claims of fraud. For example, Goodman alleges

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 that Jankowicz “filed a complaint with Twitter alleging Goodman had posted

 private information,” id. at 34, and that “there is simply no way” defendants could

 have learned certain information about Goodman without colluding with Sweigert.

 Id. at 31. These allegations do not suffice to constitute predicate acts sounding in

 fraud. Merely alleging the Sweigert provided information to Jankowicz, or any

 other defendant, and that Jankowicz then filed a complaint with Patreon and/or

 Twitter, without specifying what Sweigert and Jankowicz spoke about, or to what

 end, is insufficient to make out fraud claim. See, e.g., Kalimantano GmbH v. Motion

 in Time, Inc., 939 F. Supp. 2d 392, 413 (S.D.N.Y. 2013) (plaintiffs’ failure to provide

 quotes, dates, or any type of specificity is insufficient to make out a claim of fraud

 under RICO).

       Further, as to Wittes, Goodman alleges that he conspired to destroy his

 business, “fund[ed] the Enterprise’s legal defense,” and “engaged” Bouzy and Bot

 Sentinel to “terminate [Goodman’s] access to social media.” Am. Comp. ¶ 45. These

 conclusory allegations that Wittes “took actions at unspecified times and places,”

 are also insufficient to sustain a RICO claim. Mendlow, 86 F. Supp. 2d at 58.

 Finally, Goodman alleges that Sharp, ATAS, and Esquenet “participated in a

 scheme” by filing a fraudulent or frivolous lawsuit against his company. Am. Comp.

 ¶ 57. Where “a plaintiff alleges that a defendant engaged in a single frivolous,

 fraudulent, or baseless lawsuit, such litigation activity alone cannot constitute a

 viable RICO predicate act.” Kim, 884 F.3d at 105.




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       Moreover, despite using the term “enterprise” throughout the amended

 complaint, Goodman has not sufficiently pleaded the existence of an “enterprise.”

 Goodman alleges that all defendants “participated in the Enterprise,” Am. Comp.

 ¶¶ 41–51, and that they formed a “Cyber Militia” that creates “deceptive

 anonymous online accounts and a multitude of clandestine, encrypted

 communication schemes” and “[e]nables coordinated activity.” Id. at 13–14. Again,

 Goodman’s statements lack the required specificity: he has failed to allege facts that

 describe an “organization whose various associates function as a continuing unit”

 and his amended complaint “simply str[ings] together all of the defendants in this

 action and label[s] the resulting group an association-in-fact enterprise.” Nasik

 Breeding & Rsch. Farm Ltd. v. Merck & Co., 165 F. Supp. 2d 514, 539–40 (S.D.N.Y.

 2001) (citing Bernstein v. Misk, 948 F.Supp. 228, 235 (S.D.N.Y. 1997) (plaintiff

 failed to describe an “organization whose various associates function as a continuing

 unit”). Goodman has further failed to provide any details regarding “hierarchy,

 organization, or unity among the various alleged conspirators.” Id. at 539.

 Accordingly, Goodman has failed to allege facts to demonstrate an enterprise.

       Furthermore, Goodman has not sufficiently alleged that any actions the

 enterprise took were the proximate cause of an injury. “When a court evaluates a

 RICO claim for proximate causation, the central question it must ask is whether the

 alleged violation led directly to the plaintiff’s injuries.” Anza v. Ideal Steel Supply

 Corp., 547 U.S. 451, 461 (2006). While Goodman does use the term “proximate

 cause,” any connection between the alleged actions and injuries are conclusory at



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 best. For example, Goodman alleges that “[d]efendants’ pattern of related

 racketeering activities caused proximate financial damage.” Am. Comp. ¶ 5. In

 another instance he alleges that his “primary business Twitter account” was

 deactivated due to “the malicious efforts” of the Cyber Militia “in retaliation for

 filing this lawsuit.” Id. at 33–34. Once it was reactivated, Goodman alleges that he

 received “four new paid subscribers the same day, further demonstrating the

 proximate damage caused by deliberate deactivation.” Id. at 34. Taking these

 allegations as true, that defendants submitted false complaints resulting in the

 removal of Goodman’s Youtube videos or the deactivation of Goodman’s Twitter

 account, Goodman’s statements about “financial injury” are too vague and

 speculative “to constitute an injury to business or property,” as is required. Kimm

 v. Chang Hoon Lee & Champ, Inc., 196 F. App’x 14, 16 (2d Cir. 2006) (citation

 omitted). Goodman has alleged no details regarding what he lost as a result of

 these actions, beyond stating “financial damage.” In sum, Goodman’s RICO claim,

 to the extent he has pled one, fails.

              b.     Goodman’s Fraud Claims Should Be Dismissed as to All
                     Defendants

       Although Goodman’s first stated cause of action in the amended complaint is

 fraud, he alleges that defendants violated a host of federal criminal statutes: 18

 U.S.C. §§ 1343, 1503, and 1513. Am. Comp. at 35. Not one of these statutes

 provides for a private right of action. See, e.g., Compton v. Pavone, No. 21-931, 2022

 WL 1039966, at *1 (2d Cir. Apr. 7, 2022) (summary order) (§ 1513 does not have

 private right of action); Farmer v. Karpf, Karpf & Cerutti P.C., No. 19-CV-5947


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 (KPF), 2020 WL 1911194, at *4 (S.D.N.Y. Apr. 20, 2020) (citing cases) (no private

 right of action under § 1343); Sivokonev v. Cuomo, 447 F. Supp. 3d 58, 61 (W.D.N.Y.

 2020) (no private right of action under § 1503) (citation omitted). Therefore,

 Goodman’s claim for fraud fails.

       To the extent Goodman is asserting a common law fraud claim, his claim still

 lacks merit. “Under New York law, to state a claim for fraud a plaintiff must

 demonstrate: (1) a misrepresentation or omission of material fact; (2) which the

 defendant knew to be false; (3) which the defendant made with the intention of

 inducing reliance; (4) upon which the plaintiff reasonably relied; and (5) which

 caused injury to the plaintiff.” Wynn v. AC Rochester, 273 F.3d 153, 156 (2d Cir.

 2001) (citation omitted). In addition, pursuant to Rule 9(b), a plaintiff who alleges

 fraud “must state with particularity the circumstances constituting fraud or

 mistake.” Fed. R. Civ. P. 9(b). Therefore, the “complaint must: (1) specify the

 statements that the plaintiff contends were fraudulent, (2) identify the speaker, (3)

 state where and when the statements were made, and (4) explain why the

 statements were fraudulent.” Aquino by Convergent Distrib. of Texas, LLC v.

 Alexander Capital, LP, No. 21-CV-1355 (JSR), 2021 WL 3185533, at *25–26

 (S.D.N.Y. July 27, 2021) (quoting Lerner v. Fleet Bank, N.A., 459 F.3d 273, 290 (2d

 Cir. 2006)). In addition, a plaintiff must also “allege facts that give rise to a strong

 inference of fraudulent intent.” Id. (citation omitted).

       Importantly, Goodman has not adequately alleged reliance as to any of the

 defendants. For example, Goodman alleges that as a result of “fraudulent



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 representations and malicious actions” made by defendants, he “suffered special

 damages” when he was “compelled to travel to Detroit” to attend a hearing relating

 to litigation in the Eastern District of Michigan. Am. Comp. ¶ 55. However, taking

 the allegations as true, Goodman was not a party to the action in the Eastern

 District of Michigan, he was a non-party who filed an amicus curiae brief without

 first seeking leave of the court (which that court eventually struck). See Sweigert v.

 Cable News Network, Inc., No. 20-CV-12933 (GAD), 2022 WL 842322, at *1 (E.D.

 Mich. Mar. 21, 2022). These allegations fail to demonstrate that Goodman relied on

 any action of defendants.

       The remainder of Goodman’s fraud allegations fail to imply that any injury

 he might have suffered was due to his reliance on the allegedly fraudulent

 misrepresentations. For example, Goodman alleges that Sharp “transmitted a false

 statement to YouTube over the internet in the form of a fraudulent copyright

 infringement complaint that [Sharp] knew to be false at the time,” and goes on to

 state that Sharp had the “express purpose of damaging Goodman and denying

 access to property.” Am. Comp. ¶ 56. Nowhere does Goodman explain that he

 relied on Sharp’s statements to his own detriment. Similarly, as to Jankowicz,

 Goodman alleges that she “transmitted a fraudulent privacy complaint to

 Patreon.com over the internet with malicious intent to destroy Goodman’s business

 property.” Id. ¶ 60. But again, nowhere does Goodman explain how he relied on

 Jankowicz’s allegedly fraudulent statements.




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       Even if he had alleged reliance on defendants’ alleged actions, Goodman has

 failed to adequately plead with the specificity required under Rule 9(b) of the

 Federal Rules of Civil Procedure. Although he identifies the speakers in some

 instances, see Am. Comp. ¶¶ 56–61, Goodman never specifies the statements that

 he alleges to be fraudulent. In particular, Goodman repeatedly alleges that

 defendants “transmitted fraudulent statements,” but nowhere does he specify what

 these fraudulent statements were or when or where they were made. Thus, “it is

 clear that the vague allegations relating to the misrepresentations and omissions

 clearly fall short of meeting Rule 9(b)’s particularity requirements” as the

 allegations “fail to specify . . . the content of the statements, and when the

 statements were made.” Woods v. Maytag Co., No. 10-CV-559 (ADS) (WDW), 2010

 WL 4314313, at *6 (E.D.N.Y. Nov. 2, 2010).

           c. Defamation

       Goodman alleges that Bouzy “knowingly published false and defamatory

 statements about [him] to third parties on Twitter and elsewhere on the internet

 when [he] made claims likely to cause third parties to believe Goodman stood

 accused of raping . . . an individual who has never made such claims and who

 Goodman has never met.” Am. Comp. ¶ 63. Goodman goes on to allege that Bouzy

 “knew such statements to be false and inherently damaging per se libel.” Id. ¶ 64.

 Bouzy and Bot Sentinel argue that Goodman has not plausibly alleged that Bouzy’s

 statements were false. The Court agrees.




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       “To state a claim for defamation under New York Law, the plaintiff must

 allege (1) a false statement about the plaintiff; (2) published to a third party without

 authorization or privilege; (3) through fault amounting to at least negligence on

 [the] part of the publisher; (4) that either constitutes defamation per se or caused

 ‘special damages.’” Gargiulo v. Forster & Garbus, Esqs., 651 F. Supp. 2d 188, 192

 (S.D.N.Y. 2009) (citation omitted). 6 “‘Substantial truth’ is the standard by which

 New York law . . . determines an allegedly defamatory statement to be true or

 false.” Tannerite Sports, LLC v. NBCUniversal News Grp., a division of

 NBCUniversal Media, LLC, 864 F.3d 236, 242 (2d Cir. 2017) (citing Masson v. New

 Yorker Magazine, Inc., 501 U.S. 496, 516 (1991)).

       In addition, to make out a defamation claim under New York law, “[a] public-

 figure plaintiff must . . . prove that an allegedly libelous statement was made with

 actual malice, that is, made with knowledge that it was false or with reckless

 disregard of whether it was false or not.” BYD Co. Ltd. v. VICE Media LLC, 531 F.

 Supp. 3d 810, 818 (S.D.N.Y. 2021) (cleaned up). There are two types of public

 figures: general-purpose public figures who “assume[] [a] role[ ] of especial

 prominence in the affairs of society,” id. at 819 (citing Gertz v. Robert Welch, Inc.,

 418 U.S. 323, 345 (1974), and limited-purpose public figures, who “voluntarily

 inject[ themselves] or [are] drawn into a particular public controversy and thereby


 6New York law applies because the Court sits in diversity. See, e.g., Lee v. Bankers
 Trust Co., 166 F.3d 540, 545 (2d Cir. 1999). “A federal court sitting in diversity
 applies the choice of law rules of the forum state.” Lee, 166 F.3d at 545. “Under
 New York choice-of-law rules in defamation cases the state of the plaintiff's domicile
 will usually have the most significant relationship to the case”. Id. (cleaned up).
 Goodman’s domicile is New York, Am. Comp. ¶ 13, and thus New York law applies.
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 become[ ] public figure[s] for a limited range of issues.” Id. (citing Gertz, 418 U.S.

 at 351–52). “A public controversy is simply any topic upon which sizeable segments

 of society have different, strongly held views. . . . Even those controversies that

 engage a specialized audience can still be considered public in nature.” Biro v.

 Conde Nast, 963 F. Supp. 2d 255, 272 (S.D.N.Y. 2013) (cleaned up). As discussed

 further below, Goodman has neither alleged falsity nor actual malice.

              (1) Goodman Has Failed to Allege Falsity

       The amended complaint does not specify exactly what false statements Bouzy

 made; however, it does include a link to a recording of a phone call between Bouzy

 and Goodman. Am. Comp. at 20. 7       Throughout the call, Goodman himself implies

 that people made rape allegations against him—Goodman tells Bouzy, “go try to

 find somebody who claims I raped them. You will not find that. You will find a

 litany of social engineering liars who have been pursuing me for years with false

 claims along the lines of what you’re suggesting.” Berlin Decl., Ex. 3, Dkt. No. 108-3

 at 9 (emphasis added). 8 In response, Bouzy asks Goodman, “how would you feel if I

 was researching you and I found something where someone alleged that you, you

 know, raped them,” to which Goodman answered: “I would feel like it’s just



 7Because Goodman included a hyperlink to the phone call recording in his amended
 complaint, the recording is sufficiently incorporated by reference to be considered on
 a motion to dismiss. See, e.g., McLennon, 171 F. Supp. 3d at 88. Further, the phone
 call recording is also integral to the complaint, as Goodman himself recorded the
 call, giving him actual notice, and he relied on the call in explaining his relationship
 with Bouzy. See Chambers, 282 F.3d at 153.

 8The text of the phone call was transcribed and attached to Berlin’s Declaration.
 See Berlin Decl., Ex. 3, Dkt. No. 108-3.
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 Saturday ’cuz [sic] that s*** happens all day. Losers on the internet are making up

 nonsense about me.” Id. at 12–13. Later in the conversation Goodman adds, “no

 one has made a serious allegation that I have raped anyone. . . . People have put out

 lies about me of all kinds.” Id. at 13–14.

       Thus, even taking Goodman’s claims as true, he has not alleged the required

 falsity. As Bouzy and Bot Sentinel distinguish, Bouzy did not allege that Goodman

 raped someone; Bouzy stated only that he was aware of allegations that Goodman

 had raped someone. A review of the phone conversation demonstrates that the fact

 that there exist rumors that Goodman raped someone is “substantially true.” See,

 e.g., Masson, 501 U.S. at 516 (“The common law of libel takes but one approach to

 the question of falsity, regardless of the form of the communication. It overlooks

 minor inaccuracies and concentrates upon substantial truth.” (citations omitted));

 see also Tannerite Sports, LLC, 864 F.3d at 247 (“when falsity is an element of a

 state defamation claim, federal courts have required plaintiffs to plead facts that, if

 proven, would allow a reasonable person to consider the statement false”).

               (2) Goodman Has Failed to Allege Actual Malice

       Bouzy and Bot Sentinel further allege that, as a “public figure,” Goodman

 must plead actual malice and has failed to do so. Bouzy Mot. at 21. While he does

 not address whether he is a public figure, Goodman appears to concede that the

 actual malice standard applies to his claim of defamation in the amended complaint

 as he alleges as to Bouzy that he “made these statements with actual malice.” Am.

 Comp. ¶ 70.



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       Further, he does not oppose Bouzy and Bot Sentinel’s assertion that he is a

 public figure. In fact, he himself alleges that he is a “investigative journalist,

 documentary filmmaker, talk show host, and found of the widely trusted news,

 information, and entertainment brand Crowdsource the Truth.” Am. Comp. ¶ 13.

 Goodman also does not dispute that he instigated the phone call with Bouzy after

 his interaction with Wittes regarding the death of a political figure, Peter Smith,

 Am. Comp. at 20; Goodman MTD Opp. at 2, which meets the standard of “public

 controversy.” Further, Goodman does not deny that he was both an active

 participant and leader in the conversation surrounding Wittes and the death of

 Peter Smith. See, Am. Comp. at 19 (Goodman describing his efforts pursuing

 Wittes to speak regarding Goodman’s suspicions about Smith’s death, and his

 eventual Twitter interview with Wittes). See, e.g., Fine v. ESPN, Inc., No. 12-CV-

 0836 (DEP), 2016 WL 6605107, at *7 (N.D.N.Y. Mar. 25, 2016) (“the record includes

 ample evidence of plaintiff’s efforts to garner public attention in order to influence

 others and the success of those efforts.”). Therefore, the record supports the

 conclusion that Goodman is a limited-purpose public figure who must plead actual

 malice in his claim for defamation.

       Goodman proffers the conclusory allegation that “Defendants made these

 statements with actual malice,” Am. Comp. ¶ 66, but nowhere alleges any facts to

 support this contention. Merely intoning “actual malice” repeatedly is insufficient

 to state a claim for defamation as a limited-purpose public figure. See, e.g., Biro,

 963 F. Supp. 2d at 280 (S.D.N.Y. 2013) (“Courts in this district have also dismissed



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 pleadings of actual malice where the allegations were conclusory and lacked

 plausibility.”).

        Accordingly, because Goodman has failed to demonstrate that the allegedly

 defamatory statement was false and has failed to plead actual malice, his claim for

 defamation fails.

        d.     Abuse of Process

        Goodman brings claims of abuse of process against Sweigert and Sharp. Am.

 Comp. ¶¶ 75–77. As to Sweigert, Goodman alleges that he “abused regularly issued

 civil process with the intent to harm Goodman . . . when he brought multiple civil

 actions and attempted to intervene in existing civil actions against Goodman across

 a wide range of U.S. District Courts.” Id. ¶ 75. As to Sharp, Goodman alleges that

 he “abused regularly issued civil process with intent to harm Goodman when he

 endeavored to create a fraudulent excuse in his wrongful attempt to justify

 vexatious litigation against a company owned by Goodman.” Id. ¶ 76.

        To establish abuse of process under New York law, a plaintiff must

 demonstrate that the defendant “(1) employs regularly issued legal process to

 compel performance or forbearance of some act (2) with intent to do harm without

 excuse or justification, and (3) in order to obtain a collateral objective that is outside

 the legitimate ends of the process.” Cook v. Sheldon, 41 F.3d 73, 80 (2d Cir. 1994).

        Goodman’s abuse of process claims are conclusory at best. Even taking his

 allegations as to Sweigert to be true, that Sweigert brought multiple civil actions in

 various district courts, is insufficient. “The gist of the action for abuse of process



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 lies in the improper use of process after it is issued. . . . It follows that there must be

 an unlawful interference with one’s person or property under color of process in

 order that action for abuse of process may lie.” Williams v. Williams, 246 N.E.2d

 333, 335 (N.Y. 1969) (cleaned up). Further, “[m]otion practice in civil lawsuits does

 not qualify as legal process sufficient to state an abuse of process claim.” Zappin v.

 Comfort, No. 18-CV-1693 (ALC) (OTW), 2022 WL 6241248, at *13 (S.D.N.Y. Aug.

 29, 2022) (citing Manhattan Enterprise Group LLC v. Higgins, 816 F. App’x 512,

 515 (2d Cir. 2020), adopted by 2022 WL 4592551 (Sept. 30, 2022). Similarly, the

 mere fact that Sharp filed a lawsuit is insufficient to sustain an abuse of process

 claim.

          Additionally, Goodman alleges that defendants abused process when

 Sweigert harassed counsel retained to represent Goodman’s corporation. Am.

 Comp. ¶ 77. However, Goodman has not provided any details as to how, where, or

 when Sweigert harassed his former counsel. Therefore, Goodman’s abuse of process

 claim fails.

          e.    Civil Conspiracy

          Goodman makes a claim for civil conspiracy against all defendants that

 appears to be largely duplicative of his RICO claim. Id. ¶¶ 78–92. To establish a

 civil conspiracy claim, a plaintiff must first demonstrate “the primary tort” and then

 the following four elements: “(1) an agreement between two or more parties; (2) an

 overt act in furtherance of the agreement; (3) the parties’ intentional participation

 in the furtherance of a plan or purpose; and (4) resulting damage or injury.”



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 Medtech Prod. Inc. v. Ranir, LLC, 596 F. Supp. 2d 778, 794 (S.D.N.Y. 2008) (cleaned

 up). Goodman’s claim for civil conspiracy fails chiefly because he did not

 demonstrate any primary tort—his claims for fraud and abuse of process are not

 cognizable. See, e.g., McCall v. Chesapeake Energy Corp., 509 F. App’x 62, 65 (2d

 Cir. 2013) (because “the claims that could have provided a basis for the civil

 conspiracy claim were dismissed, [the civil conspiracy claim] must also fail as a

 matter of law”).

       In sum, Goodman has failed to allege any cognizable claims. Accordingly, his

 amended complaint should be dismissed. 9

       2.     Goodman’s Motion for Leave to Further Amend Should Be
              Denied

       Without leave of the Court, Goodman filed a second amended complaint.

 Dkt. No. 132. Following a Court order, Goodman then filed a notice of motion for




 9 To be clear, the Court’s recommendation for dismissal applies to Berlin and
 Mishkin as well. Although none of Goodman’s causes of action names Berlin or
 Mishkin, in his discussion of personal jurisdiction, Goodman alleges that Berlin
 “conspired with Defendants to intimidate Goodman with harassing extrajudicial
 letters after he was alerted by a Tweet sent by [Swiegert] and prior to appearing as
 counsel for Defendants Bouzy and Bot Sentinel in violation of 18 U.S.C. § 1503.”
 Am. Comp. ¶ 50. To the extent Goodman is making a claim that Berlin and Mishkin
 violated 18 U.S.C. § 1503, a federal criminal statute that does not provide a private
 civil right of action, it fails. Further, as discussed below, the only conduct that
 Goodman alleges against Berlin and Mishkin is that they sent him a “pre-motion
 letter” in an attempt to “threaten” or “intimidate” him, Am. Comp. ¶ 50, which is
 fully within the type of activities contemplated by the rules. See, e.g., Judge Torres’
 Individual Practices in Civil Cases Rule III B. Finally, to the extent Goodman is
 alleging that Berlin and Mishkin participated in a conspiracy or “Enterprise” with
 the other defendants, he has not provided any specificity to those allegations and
 they thus fail as well.


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 leave to further amend. 10

       A court must “freely” grant leave to amend a complaint when “justice so

 requires.” Fed. R. Civ. P. 15(a)(2). “Where a cause of action is dismissed due to

 deficient pleading, leave to amend should generally be granted.” Watkins v. City of

 New York Kings Cty., No. 14-CV-1512 (RRM) (LB), 2014 WL 4075769, at *4

 (E.D.N.Y. Aug. 15, 2014) (collecting cases). Moreover, the Second Circuit has

 emphasized that “[a] pro se complaint should not be dismissed without the Court

 granting leave to amend at least once when a liberal reading of the complaint gives

 any indication that a valid claim might be stated.” Nielsen v. Rabin, 746 F.3d 58, 62

 (2d Cir. 2014) (quoting Chavis v. Chappius, 618 F.3d 162, 170 (2d Cir. 2010)).

 However, denial of leave to amend may result upon a finding of “undue delay, bad

 faith or dilatory motive on the part of the movant, repeated failure to cure

 deficiencies by amendments previously allowed, undue prejudice to the opposing

 party by virtue of allowance of the amendment, futility of amendment, etc.” Ruotolo

 v. City of New York, 514 F.3d 184, 191 (2d Cir. 2008) (quoting Foman v. Davis, 371

 U.S. 178, 182 (1962)).

       A court may dismiss the claims of a pro se litigant without leave to amend

 when “the substance of the claim pleaded is frivolous on its face,” Salahuddin v.

 Cuomo, 861 F.2d 40, 42 (2d Cir. 1988), and is “based on an indisputably meritless

 legal theory,” Nance v. Kelly, 912 F.2d 605, 606 (2d Cir. 1990) (citation omitted), or



 10 Because Goodman filed a proposed third amended complaint immediately
 following his proposed second amended complaint, the Court views the second
 amended complaint as no longer the proposed operative pleading.
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 where “the problem with [the plaintiff’s] causes of action is substantive” such that

 “[b]etter pleading will not cure it.” Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir.

 2000).

          As a threshold issue, Goodman failed to include a memorandum of law along

 with either of his proposed amended complaints in violation of Local Rule 7.1(a). A

 party’s failure to submit a memorandum of law with its motion, even a pro se party

 like Goodman (who is a seasoned litigant), “standing alone, is sufficient cause for . .

 . denying a motion. [In such a circumstance,] [i]t is not necessary [for a court] to

 reach the merits [of the motion].” East 65 Street Realty Corp. v. Rinzler, No. 98-CV-

 6555 (RCC), 2000 WL 303279, at *2 (S.D.N.Y. March 22, 2000) (collecting cases).

 “Local Rules are not ‘empty formalities.’” Zimmerman v. Racette, No. 17-CV-375

 (LEK) (CFH), 2022 WL 4328489, at *6 (N.D.N.Y. Sept. 19, 2022) (quoting Kilmer v.

 Flocar, Inc., 212 F.R.D. 66, 69 (N.D.N.Y. 2002)). Accordingly, Goodman’s motions

 for leave to further amend his complaint should be denied on this basis alone.

          His motions should be denied on the merits as well. Goodman has already

 amended his complaint once, and so he has had the opportunity to cure the

 deficiencies in his claims. Bouzy, Bot Sentinel, Berlin, Mishkin, Sweigert, Wittes,

 and Jankowicz oppose Goodman’s motions to amend, arguing that he largely

 rehashes the same factual allegations in his proposed second and third amended

 complaints, but still fails to plead with the required specificity and his allegations,

 even if true, fail to state any claims. See Bouzy Rep. at 4–8, Wittes Opp. at 4–6,

 Sweigert Opp. at 19–25. The Court agrees.



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       Goodman’s motions for leave to amend are futile. Nothing in the proposed

 third amended complaint leaves any basis for a finding that Goodman’s allegations,

 taken as true, would be cognizable. For example, in connection with his RICO

 allegations, Goodman states that the “Cyber Militia” made “false, unfounded, and

 defamatory statements,” Dkt. No. 142-1 ¶ 54, but once again, Goodman does not

 specify what these statements were. Although he adds more text to his defamation

 claim, Goodman still does not allege with specificity that Bouzy acted with actual

 malice. Id. ¶ 91. In his abuse of process allegations, Goodman contends that

 Sweigert “abused regularly issued civil process,” by, for example, “harass[ing]

 Snyder, the attorney retained to Goodman’s corporation,” but he does not specify

 how Sweigert harassed his counsel. Id. ¶ 97. In addition, as with the amended

 complaint, many of the causes of action that Goodman asserts are brought pursuant

 to criminal statutes that do not provide for a private right of action.

       In sum, due to his procedural failures and the futility of his proposed third

 amended complaint, Goodman’s motions for leave to amend should be denied.

 Although leave to amend should be freely granted to a pro se litigant, here it is clear

 that no valid claim can be stated. See Grullon v. City of New Haven, 720 F.3d 133,

 139 (2d Cir. 2013) (“A pro se complaint should not be dismissed without the Court’s

 granting leave to amend at least once when a liberal reading of the complaint gives

 any indication that a valid claim might be stated.” (cleaned up)). As Goodman has

 already had his opportunity to amend, his motions should be denied with prejudice.

 See Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991) (citation



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 omitted) (“Of course, where a plaintiff is unable to allege any fact sufficient to

 support its claim, a complaint should be dismissed with prejudice.”) (affirming, in

 part, dismissal of claim with prejudice).

       3.     Goodman’s Motion for Sanctions Should Be Denied

       Goodman moved for sanctions against Bouzy, Bot Sentinel, and their counsel,

 Berlin, pursuant to Rule 11 of the Federal Rules of Civil Procedure, claiming that

 Berlin’s delay in filing a notice of appearance, and the pre-motion letter which he

 sent to Goodman, were in violation of the Federal Rules and Judge Torres’

 individual rules of practice. Goodman Sanc. at 1. 11 The Court disagrees.

       First, Judge Torres’ individual rules of practice specifically call for the parties

 to exchange letters prior to a defendant moving to dismiss. See Judge Torres’

 Individual Practices in Civil Cases Rule III B. Second, there is no rule that requires

 counsel to file a notice of appearance before contacting a counterparty. Third,

 nothing in the substance of the letter, which Goodman attached to his motion,

 appears to have the intent of harassing him. Id., Ex. A. Accordingly, Goodman’s

 motion should be denied. 12



 11The caption Goodman includes in his motion names Bouzy, Bot Sentinel, and
 Webb as the defendants in his motion for sanctions. Goodman Sanc. at 1. However,
 the memorandum of law names Bouzy, Bot Sentinel, and Berlin. Id.

 12In his reply, Goodman requests for the first time that the Court, in the
 alternative, construe his motion as one for contempt. “[A]s a general rule, a court
 does not consider arguments raised for the first time in a reply brief.” Holguin v.
 Lee, No. 13-CV-1492 (LGS) (JLC), 2014 WL 5508331, at *4, n.4 (S.D.N.Y. Oct. 31,
 2014), adopted by, 2016 WL 1030129 (Mar. 10, 2016). Such a rule is meant to
 “deter[ ] the practice of raising new arguments on reply that the opposing party is
 unable to respond to.” Royal Park Investments SA/NV v. U.S. Bank Nat’l Ass’n, 324
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       In opposition to Goodman’s motion, Bouzy, Bot Sentinel, and Berlin seek

 attorneys’ fees. Bouzy Sanc. Opp. at 8. “If warranted, the Court may award the

 party prevailing on the motion [for sanctions] the reasonable expenses and

 attorney’s fees incurred in presenting or opposing the motion.” Fed.R.Civ.P.

 11(c)(1)(A). Bouzy, Bot Sentinel, and Berlin argue that Goodman’s motion was

 clearly frivolous and as such attorneys’ fees are warranted. Bouzy Sanc. Opp. at 9.

 “An argument constitutes a frivolous legal position for purposes of Rule 11 sanctions

 if, under an objective standard of reasonableness, it is clear . . . that there is no

 chance of success and no reasonable argument to extend, modify or reverse the law

 as it stands.” Morley v. Ciba–Geigy Corp., 66 F.3d 21, 25 (2d Cir. 1995) (cleaned

 up). “Rule 11 imposes an affirmative duty on a litigant to conduct a reasonable

 inquiry into the law and facts before filing a pleading, and the standard to be

 applied is one of objective reasonableness.” Sachs v. Matano, No. CV15-CV-6049

 (JFB) (AKT), 2016 WL 4179792, at *6 (E.D.N.Y. July 15, 2016) (citation omitted),

 adopted by 2016 WL 4186708 (Aug. 4, 2016).

       Here, while Goodman’s Rule 11 claims against Bouzy, Bot Sentinel, and

 Berlin fail, it is not clear that Goodman understood there to be “no chance of

 success” or that he did not “conduct a reasonable inquiry into the law.” For

 example, he alleges that “[b]ecause the letter was sent well after the time to

 respond had expired, and because of the deceptive nature of Defendants’ past



 F. Supp. 3d 387, 395 (S.D.N.Y. 2018). The Court therefore does not consider this
 argument.


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 behavior,” he “believed the letter was a trap designed to deceive him into engaging

 with unretained, tentative counsel outside of normal court procedure.” Goodman

 Sanc. Rep. at 5. While it is a close call, given that Goodman is an experienced pro se

 litigant, attorneys’ fees are not warranted.

       4.     Wittes’ and Jankowicz’s Motion for Sanctions Should Be
              Granted and a Filing Injunction Imposed

       Wittes and Jankowicz moved for sanctions against Goodman pursuant to

 Rule 11 of the Federal Rules of Civil Procedure. As sanctions, they seek an order

 enjoining Goodman from filing additional documents on the docket relating to them

 in this District; enjoining him from filing any federal district court action against

 them relating to the subject matter in this case; enjoining him from filing any new

 pro se action against them in any federal district court without first obtaining leave

 of that court; and finally, ordering him to pay the fees and costs incurred in

 defending this action and the litigation associated with this sanctions motion.

 Wittes Sanc. at 1.

       “[T]he Second Circuit has held that ‘[t]he issuance of a filing injunction is

 appropriate when a plaintiff abuses the process of the Courts to harass and annoy

 others with meritless, frivolous, vexatious or repetitive proceedings.’” Ware v.

 United States, No. 04-CR-1224 (ER), 2023 WL 2757206, at *5 (S.D.N.Y. Apr. 3,

 2023) (citing Lau v. Meddaugh, 229 F.3d 121, 123 (2d Cir. 2000)). “A court’s power

 to restrict the litigation of abusive and vexatious litigants is an “ancient one” that is

 now codified at 28 U.S.C. § 1651(a), the All Writs Act.” Id. (citing Polur v. Raffe,

 912 F.2d 52, 57 (2d Cir. 1990) (quoting In re Hartford Textile Corp., 681 F.2d 895,


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 897 (2d Cir. 1982) (per curiam) (internal quotation marks omitted))). Five factors

 are considered when determining if a litigant’s behavior warrants a filing

 injunction:

               (1) The litigant’s history of litigation and in particular whether
               it entailed vexatious, harassing, or duplicative lawsuits;

               (2) The litigant’s motive in pursuing the litigation, e.g., does the
               litigant have an objective good faith expectation of prevailing?

               (3) Whether the litigant is represented by counsel;

               (4) Whether the litigant has caused needless expense to other
               parties or has posed an unnecessary burden on the courts and
               their personnel; and

               (5) Whether other sanctions would be adequate to protect the
               courts and other parties.

 Safir v. U.S. Lines, Inc., 792 F.2d 19, 24 (2d Cir. 1986).

       Here, as to Jankowicz and Wittes, the five factors all weigh in favor of a filing

 injunction. First, this is not the first lawsuit in which Goodman has been involved

 or filed himself. See, e.g., Sweigert v. Goodman, No. 22-CV-2788 (LGS) (BCM), Dkt.

 No. 72 (S.D.N.Y. July 19, 2022) (Sweigert’s defamation suit against Goodman

 voluntarily dismissed); Goodman v. Sharp, No. 21-CV-10627 (VEC), Dkt. No. 66

 (S.D.N.Y. July 12, 2022) (Goodman sued Sharp, ATAS, Esquenet; Sweigert denied

 intervention); Sweigert v. Cable News Network, Inc., No. 20-CV-12933 (GAD), 2022

 WL 842322, at *1 (E.D. Mich. Mar. 21, 2022) (defamation suit against CNN in

 which the court struck Goodman’s amicus curiae brief because he was nonparty and

 Sweigert denied leave to file an amicus brief); Sweigert v. Goodman, No. 18-CV-




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 8653 (VEC), 2022 WL 168080 at *11 (S.D.N.Y. Jan. 19, 2022) (Sweigert’s

 defamation suit against Goodman dismissed with prejudice).

       Second, Goodman does not have a good faith expectation of prevailing, as the

 Court recommends above that his case as to Janckowicz and Wittes should be

 dismissed with prejudice. Third, although Goodman is not represented by counsel,

 he is not the average pro se litigant. As noted, Goodman has involved himself in

 numerous lawsuits in different jurisdictions. See, e.g. Schuster v. Charter

 Commc’ns, Inc., No. 18-CV-1826 (RJS), 2021 WL 1317370, at *10 (S.D.N.Y. Apr. 8,

 2021) (pro se status does not bar imposition of filing injunction).

       Fourth, beyond involving himself in multiple litigations, Goodman has made

 excessive filings here. Since January 2023 alone, Goodman has made more than 20

 filings on the court’s docket. This is not for a lack of legal knowledge—just two

 years ago, in this District, another court admonished Goodman:

              the Court instructed the parties to “refrain from filing
              excessively, from repeatedly amending their filings, and
              from filing responses to Court orders and the opposing
              party in a piecemeal fashion.” The Court forewarned the
              parties that “[f]ailure to adhere to this directive will
              result in sanctions. . . . Goodman, although not as prolific
              as Sweigert in this regard, also clogs the docket with
              amended filings. Such behavior has to stop.

 Sweigert v. Goodman, No. 18-CV-8653 (VEC), 2022 WL 168080, at *10 (S.D.N.Y.

 Jan. 19, 2022) (emphasis added) (citations omitted). In addition, on at least two

 occasions in this action, Goodman filed confidential information regarding

 Jankowicz on the docket without taking the appropriate sealing and/or redacting

 measures. See Dkt. Nos. 145 and 157. Goodman has been warned before and he


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 has failed to heed the warnings. Therefore, no lesser sanctions would suffice to

 protect the parties. See e.g., Vassel v. Firststorm Properties 2 LLC, 750 F. App’x 50,

 53 (2d Cir. 2018) (“the protection of parties abused in federal litigation falls within

 the province of the federal court” and district court should “modify the injunction to

 provide that [plaintiff] is prevented only from commencing [the specified]

 actions . . . without first obtaining leave of the district court”); Schuster, 2021 WL

 1317370, at *10 (“proposed injunction properly captures the main focus . . . –

 complaints that [plaintiff’s] past practice suggests will continue unabated without a

 filing injunction in place”). Notably, in one previous Goodman-Sweigert litigation,

 another court in this District observed:

              given Mr. Goodman’s propensity to become involved in
              litigation on both sides of the versus sign, the Court finds
              that an appropriate sanction is to require Mr. Goodman,
              for the next two years, to notify all other Courts in which
              he litigates and all other parties against whom or with
              whom he litigates that a Court has determined that he
              willfully violated a Protective Order during litigation

 No. 20-CV-7269, Dkt. No. 156. Still, Goodman has persisted in filing cases.

 Therefore, an order should be entered enjoining Goodman from: (1) filing additional

 documents on the docket relating to Wittes and Jankowicz in this District; (2) filing

 any federal district court action them relating to the subject matter in this case; and

 (3) filing any new pro se action against them in any federal district court without

 first obtaining leave of that court.

       Lastly, Wittes and Jankowicz request attorneys’ fees if their motion is

 successful. Wittes Sanc. at 11. Rule 11 sanctions apply to pro se litigants and “pro

 se filings do not serve as an impenetrable shield, for one acting pro se has no license
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 to harass others, clog the judicial machinery with meritless litigation, and abuse

 already overloaded court dockets.” Durant v. Traditional Invs., Ltd., 135 F.R.D. 42,

 49 (S.D.N.Y. 1991) (cleaned up). Here, however, attorneys’ fees should not be

 awarded. Unlike other cases in this Circuit where courts awarded attorneys’ fees,

 this appears to be the first lawsuit Goodman has brought against Wittes and

 Jankowicz. But cf. Manwani v. Brunelle, 99 F.3d 400,*2 (2d Cir. 1995) (pro se

 plaintiff sanctioned for litigating same claims he previously litigated); Baasch v.

 Reyer, 846 F.Supp. 9, 10 (E.D.N.Y. 1994) (pro se plaintiff who refiled case after court

 ruled it was frivolous sanctioned). “[E]njoining [Goodman] from pursuing future

 claims . . . against these defendants without leave of this Court should be sufficient

 to deter [him] from bringing groundless lawsuits in the future.” Toro v. Depository

 Tr. Co., No. 97-CV-5383 (SAS), 1997 WL 752729, at *5 (S.D.N.Y. Dec. 4, 1997).

       5.     Goodman’s Motion for a Preliminary Injunction Should Be
              Denied

       Goodman moved for a preliminary injunction or otherwise a temporary

 restraining order against Sweigert pursuant to Rule 65(b)(1)(A) of the Federal Rules

 of Civil Procedure. Goodman seeks an injunction enjoining Sweigert from

 “communicating with any member of the public, aside from this Court or any

 attorney he may retain to represent him, concerning matters relating to this case,”

 Goodman, and Goodman’s family members “and associates.” Goodman PI at 1.

       To obtain a preliminary injunction, a moving party must show “(a)

 irreparable harm and (b) either (1) likelihood of success on the merits or (2)

 sufficiently serious questions going to the merits to make them a fair ground for


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 litigation and a balance of hardships tipping decidedly toward the party requesting

 the preliminary relief.” Citigroup Glob. Markets, Inc. v. VCG Special Opportunities

 Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010). 13 “Irreparable harm is ‘the sine

 qua non for [such] relief.’” trueEX, LLC v. MarkitSERV Ltd., 266 F. Supp. 3d 705,

 726 (S.D.N.Y. 2017) (quoting USA Recycling, Inc. v. Town of Babylon, 66 F.3d 1272,

 1295 (2d Cir. 1995)). “As such, the moving party must first demonstrate that

 irreparable harm would be ‘likely’ in the absence of a preliminary injunction ‘before

 the other requirements for the issuance of [a preliminary] injunction will be

 considered.’” JBR, Inc., 618 F. App’x at 33 (quoting Rodriguez ex rel. Rodriguez v.

 DeBuono, 175 F.3d 227, 234 (2d Cir. 1998)).

       Goodman has not established irreparable harm. His justification for the

 relief is only that he is seeking the injunction to “to end the emotional and physical

 distress caused to innocent third parties including . . . most particularly Goodman’s

 mother.” Goodman PI at 6. Goodman alleges that his mother is in poor health and

 that Sweigert’s public comments, primarily on the Internet, are causing her harm.

 Id. at 2. “[C]laims of emotional and physical harm may in some circumstances

 justify preliminary injunctive relief,” Moore v. Consol. Edison Co. of New York, 409

 F.3d 506, 511 (2d Cir. 2005) (citation omitted). Nonetheless, where the harm



 13The standards for a temporary restraining order are the same as those for a
 preliminary injunction. See Tangtiwatanapaibul v. Tom & Toon Inc., No. 17-CV-
 816 (LGS), 2018 WL 4405606, at *3 (S.D.N.Y. Sept. 17, 2018) (“It is well established
 that in this Circuit the standard for an entry of a [temporary restraining order] is
 the same as for a preliminary injunction.”) (quoting Nat’l Football League Mgmt.
 Council v. Nat’l Football League Players Ass’n, No. 17-CV-6761 (KPF), 2017 WL
 4685113, at *1 (S.D.N.Y. Oct. 17, 2017)).
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 specified is speculative, injunctive relief is not justified. See, e.g., Kamerling v.

 Massanari, 295 F.3d 206, 214 (2d Cir. 2002) (preliminary relief cannot be founded

 on “remote or speculative” harms, must be “actual and imminent”). 14 Because

 “irreparable harm is the single most important prerequisite for the issuance of a

 preliminary injunction,” Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d 60,

 66-67 (2d Cir. 2007) (per curiam) (citation omitted), the Court does not reach the

 other factors. 15 Indeed, if Goodman wants to stop interacting with Sweigert,

 persisting from including him in further litigation would aid in this endeavor. His

 motion for a preliminary injunction should be denied.

        6.     Goodman’s Motion for a Court-Ordered Psychiatric Evaluation
               is Denied

        Goodman moved for a court-ordered psychological evaluation of Sweigert

 pursuant to Rule 35 of the Federal Rules of Civil Procedure. Goodman alleges that

 Sweigert’s “persistent harassment and cyberstalking . . . call into question his


 14Further, Goodman lacks standing to seek relief on his mother’s or any other third
 party’s behalf. See Moore, 409 F.3d at 511.

 15 Even if he had established irreparable harm, Goodman has not demonstrated a
 likelihood of success on the merits. To begin with, it is not entirely clear that
 Goodman’s motion for preliminary injunction is related to his underlying claims in
 the amended complaint. “To prevail on a motion for preliminary injunctive relief,
 the moving party must establish a relationship between the injury claimed in the
 motion and the conduct giving rise to the complaint.” Candelaria v. Baker, No. 00-
 CV-912, 2006 WL 618576, at *3 (W.D.N.Y. Mar. 10, 2006) (cleaned up). Goodman
 seeks preliminary injunctive relief alleging that Sweigert’s cyber harassment,
 whereby Sweigert is publishing information Goodman considers to be personal on
 the internet, is causing his family and other third parties emotional and physical
 harm. To the extent Goodman is seeking relief for these claims, the claims are
 unrelated and he cannot demonstrate likelihood of success on the merits.


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 mental fitness to represent himself and participate in a trial in this legal action.”

 Dkt. No. 118 at 1. Under the Rule, “[t]he court where [an] action is pending may

 order a party whose mental or physical condition . . . is in controversy to submit to a

 physical or mental examination.” Fed. R. Civ. P. 35(a)(1). That is not the case here.

 The claims at issue here, as to Sweigert, are fraud, defamation, abuse of process,

 civil conspiracy, and RICO. None of these claims put in controversy Sweigert’s

 mental condition. See, e.g., Bourne v. City of Middletown, No. 11-CV-309 (DJS),

 2012 WL 6600297, at *1 (D. Conn. Dec. 18, 2012) (motion for psychological

 examination denied). Accordingly, Goodman’s motion is denied.

       7.     All Motions for Judicial Notice are Denied

       Goodman and Sweigert have filed multiple requests (some in the form of

 motions, others in the form of letters) that the Court take judicial notice of separate

 litigation to which Goodman and Sweigert are parties, various Internet postings

 largely created by Goodman, and Goodman’s complaints as to the parties in this

 case. Dkt. Nos. 141, 163, 167, 176, 179, 181, 191. The documents of which the

 Court has been asked to take judicial notice appear to be either irrelevant to the

 case at hand or unnecessary, as at the motion to dismiss stage, all well-pleaded

 factual allegations in Goodman’s amended complaint are deemed true. See, e.g.,

 United States v. Tishman Constr. Corp., No. 12-CV-3862 (DLI) (RER), 2017 WL

 9481015, at *3 (E.D.N.Y. Feb. 2, 2017) (no judicial notice taken where information is

 unnecessary), adopted by 2017 WL 1093190 (E.D.N.Y. Mar. 23, 2017); Galley

 Schuler v. Rainforest All., Inc., No. 14-CV-226 (CR), 2016 WL 10516026, at *1 (D.



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 Vt. Feb. 10, 2016) (same); see also, e.g., Anthes v. New York Univ., No. 17-CV-2511

 (ALC), 2018 WL 1737540, at *4 (S.D.N.Y. Mar. 12, 2018) (collecting cases) (courts

 need only take judicial notice of relevant facts). As such these requests/motions are

 denied. Additionally, Sweigert’s motion to strike Goodman’s request for judicial

 notice is denied as moot.

       8.     Sweigert’s Motions to Transfer are Denied as Moot

       Sweigert has twice moved to transfer this action to the Eastern District of

 Michigan, “if, and when, defendants other than [Sweigert] and his brother,” are

 dismissed. Dkt. No. 158 ¶ 1, Dkt. Nos. 161 ¶ 1. These motions are denied as moot

 because the Court recommends dismissing Sweigert from the case.

       9.     Goodman’s Motions to Quash are Denied

       Goodman has filed multiple motions to quash subpoenas requested by

 Sweigert. Dkt. Nos. 168, 170, 186, 188. Goodman himself has requested the

 issuance of multiple subpoenas. As a threshold matter, the requests for these

 subpoenas, pursuant to Rule 45 of the Federal Rules of Civil Procedure, are

 improper. “Rule 45 subpoenas have been held generally to constitute discovery,

 and, therefore, are subject to the same time constraints that apply to all of the other

 methods of formal discovery.” Pasternak v. Dow Kim, No. 10-CV-5045 (LTS) (JLC),

 2013 WL 1729564, at *1 (S.D.N.Y. Apr. 22, 2013) (cleaned up). Discovery in this

 case has not commenced (and, if this Report is adopted, there will be none).

 Further, “[a] party may not seek discovery from any source before the parties have

 conferred.” Fed. R. Civ. P. 26. Accordingly, all subpoenas requested to date are



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 improper and should be withdrawn forthwith. Goodman’s motions to quash are

 denied as moot.

       10.    Remaining Defendants

       If this Report is adopted in full, the only remaining defendants will be Webb,

 ATAS, Sharp, and Esquenet. 16 Because the claims against these defendants are

 substantially similar to those for which the Court recommends dismissal—that

 ATAS, Sharp, and Esquenet participated in the “Enterprise”— I recommend that

 the claims against them be dismissed by the Court sua sponte (i.e., without

 requiring motions to dismiss from these defendants). See, e.g., Heicklen v. U.S.

 Dep’t of Homeland Sec., No. 10-CV-2239 (RJH) (JLC), 2011 WL 3841543, at *17

 (S.D.N.Y. Aug. 30, 2011), adopted by 2011 WL 4442669 (Sept. 23, 2011). 17 “The

 power to dismiss sua sponte must be reserved for cases in which a pro se complaint

 is so frivolous that, construing the complaint under the liberal rules applicable to

 pro se complaints, it is unmistakably clear that the court lacks jurisdiction or that

 the claims are lacking in merit.” Mendlow, 86 F. Supp. 2d at 57 (citing Snider v. Dr.

 Melindez, 199 F.3d 108 (2d Cir. 1999); Conway v. Garvey, No. 03-CV-7958 (DC),

 2003 WL 22510384, at *4 (S.D.N.Y. Nov. 5, 2003) (sua sponte dismissal even when


 16 As to Webb, Goodman states only: “Webb’s motion to dismiss was granted on
 December 13, 2022 (ECF No. 82) he is no longer a party to this case and should
 have no interest in communications between Goodman and Defendants.” Goodman
 Sanc. Rep. at 4. However, Webb was named in the amended complaint, and thus
 remains a defendant in the action. Given that, by his own admission, Goodman is
 not pleading claims against him, Webb should be dismissed from the case as well.
 17 Notably, this is not the first action Goodman has brought against ATAS, Sharp,

 and Esquenet. In 2022, Judge Caproni dismissed Goodman’s claims against them
 for lack of subject matter jurisdiction without leave to amend. Goodman v. Sharp,
 No. 21-CV-10627 (VEC), 2022 WL 2702609, at *6 (S.D.N.Y. July 12, 2022).
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 plaintiff paid filing fee, “as plaintiff presents no arguably meritorious issue.”).

 Here, all of Goodman’s claims lack merit and no further judicial resources should be

 expended in evaluating them in additional motion practice. Accordingly, the case

 should be dismissed in its entirety.

                                 III.   CONCLUSION

       For the reasons stated herein, the pending motions to dismiss should all be

 granted, and Goodman should be denied leave to further amend his complaint. In

 addition, Goodman’s motion for sanctions should be denied and Wittes’s and

 Jankowicz’s motion for sanctions in the form of a filing injunction should be granted

 and a filing injunction as detailed in this Report should be imposed. Goodman’s

 motion for a preliminary injunction against Sweigert and for a default judgment

 against Bouzy and Bot Sentinel should be denied.

       The following motions, which are all non-dispositive, are denied: Goodman’s

 motion for a court-ordered psychiatric evaluation; Goodman’s and Sweigert’s

 motions for judicial notice; Sweigert’s motions to transfer; and Goodman’s motions

 to quash. Bouzy and Bot Sentinel’s motion to vacate the default entered against

 them is granted.

       The Clerk is respectfully directed to close docket numbers 118, 141, 168, 186,

 191 and 198 and mark them all as “denied.”

                    PROCEDURE FOR FILING OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil

 Procedure, the parties have fourteen (14) days (including weekends and holidays)



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 from service of this Report and Recommendation to file any objections as to the

 motions to dismiss by Bouzy, Bot Sentinel, Berlin, Miskhin, Sweigert, Wittes, and

 Jankowicz, Goodman’s motions for leave to further amend his complaint,

 Goodman’s motion for sanctions, Wittes’s and Jankowicz’s motion for sanctions, and

 Goodman’s motion for a preliminary injunction. See Fed. R. Civ. P. 6(a), (b), (d). A

 party may respond to any objections within fourteen (14) days after being served.

 Such objections, and any responses to objections, which will be subject to de novo

 review, shall be filed with the Clerk of Court, with courtesy copies delivered to the

 chambers of the Honorable Analisa Torres and the undersigned, United States

 Courthouse, 500 Pearl Street, New York, New York 10007. Any requests for an

 extension of time for filing objections must be directed to Judge Torres.

       FAILURE TO FILE OBJECTIONS WITHIN FOURTEEN (14) DAYS

 WILL RESULT IN A WAIVER OF OBJECTIONS AND WILL PRECLUDE

 APPELLATE REVIEW. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72. See Thomas v.

 Arn, 474 U.S. 140 (1985); Wagner & Wagner, LLP v. Atkinson, Haskins, Nellis,

 Brittingham, Gladd & Carwile, P.C., 596 F.3d 84, 92 (2d Cir. 2010).




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       IT IS SO ORDERED as to Goodman’s motion for a court-ordered psychiatric

 evaluation; Goodman’s and Sweigert’s motions for judicial notice; Sweigert’s

 motions to transfer; Goodman’s motions to quash; and Bouzy and Bot Sentinel’s

 motion to vacate default. As to these motions, the parties have fourteen (14) days

 (including weekends and holidays) to file any objections, which will be reviewed for

 clear error pursuant to Rule 72(a) of the Federal Rules of Civil Procedure.

 Dated: New York, New York
        May 8, 2023




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